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                         EXHIBIT A




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RE: Zachary J. Alam                                                                           April 9, 2024



My name is Karyn Alam. I am Zachary Alam’s mother, born and raised in the USA. I was a public high
school and University of Arizona mathema�cs educator from 1978 to 1996. Subsequently, I was
employed by the Florida Department of Revenue, and the Virginia Department of Taxa�on, un�l my
re�rement in 2022. I am wri�ng this leter at my son’s request, in prepara�on for his April 2024
sentencing trial. I iden�ﬁed Zachary to the FBI a�er the January 6th atack on the US Capitol.

Growing up, Zachary was self-mo�vated, intelligent, crea�ve, funny, personable, and athle�c. He had
good friends. He was an excellent student with a promising future. In 2014, Zachary graduated with
honors in biomedical engineering from the University of Virginia. Soon a�er, Zachary’s father pushed him
to apply to medical school. Unbeknownst to me, his father completed and submited the applica�ons,
scheduled the interviews, and made the travel plans. Zachary obediently went to the interviews, and
was admited to medical school in Alabama. He was willing to give medical school a try, however, he
quickly realized that medical school was not for him, and in the autumn of 2014, Zachary withdrew. His
father could not accept that Zachary would not become a doctor, and stated that he “disowned”
Zachary. Zachary returned home to Virginia.

In July of 2015, Zachary’s father and I divorced; Zachary con�nued to live at home with me. He
atempted numerous jobs, such as selling health products, unloading trucks, working at a vitamin store,
being a personal trainer, driving a bike taxi, and bussing tables. I gave Zachary emo�onal and moral
support to the best of my ability, but his father’s rejec�on con�nued. Zachary had turned to alcohol and
drug use and associated with people who were nega�ve inﬂuences; he began commi�ng misdemeanor
crimes to survive.

On January 8, 2021, Zachary’s father texted me a video that was ﬁlmed during the January 6th US Capitol
atack, showing a man recklessly breaking a window at the House of Representa�ves. The man looked
like Zachary. Friends and family members contacted each other about the video; all were in disbelief that
it was Zachary, but all knew it was he. Zachary had ﬂed the capitol and driven to Pennsylvania, where he
atempted to stay with 3 separate family members. A�er numerous family discussions and painful,
emo�onal anguish, I made the decision to iden�fy Zachary to the FBI. I feared for Zachary’s well-being;
family members feared for their own welfare, since we could all iden�fy him. Iden�fying my son to the
FBI was the most diﬃcult, heart-breaking decision I have ever made, but I felt it was the right thing to do.

Zachary has served more than 3 years of �me in jail, to be held accountable for his ac�ons. To my
knowledge, Zachary par�cipated in the US Capitol atack a�er he atended President Trump’s January 6th
speech at the White House. Zachary told me he got “wrapped up in it”, inspired by President Trump.
Zachary has been a caring and aﬀec�onate son, grandson, brother, nephew, cousin, and friend. At 32
years of age, he deserves a chance to realize his future. I look forward to Zachary being reunited with his
family, and ask for your �me, wisdom, and mercy in this mater.



Thank you for your sound considera�on,

Karyn L. Alam
